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     U.S. v. HASSANBUNHUSSEIN ABOLORE LAWAL, a/k/a “Bellajannet28,” a/k/a
 “Bellajannet30,” a/k/a “Aliceconnor566,” a/k/a “Lawal Hassan,” a/k/a “Hassan Lawal,”



                                       PENALTY SHEET




                                             COUNT 1

18 U.S.C §§ 2251(a) and 2251(e) – Child Exploitation / Production of CP Resulting in Death

Term of Imprisonment:                 Mandatory minimum of 15 years and a maximum of 30
                                      years; however, if the conduct results in the death of a
                                      person, the defendant shall be punished by death or
                                      imprisoned for not less than 30 years or for life.
Maximum Fine Amount:                  $250,000
Supervised Release:                   Mandatory minimum of 5 years; maximum of lifetime
Mandatory Special Assessment:         $100
Additional Special Assessment:        $5,000

In addition to the otherwise mandatory minimum of 15 years and statutory maximum of 30 years,
if the defendant has one prior conviction as set forth in 18 U.S.C. § 2251(e), the defendant shall
be fined under Title 18 and imprisoned for not less than 25 years nor more than 50 years.

In addition to the otherwise mandatory minimum of 15 years and statutory maximum of 30 years,
if the defendant has two or more prior convictions as set forth in 18 U.S.C. § 2251(e), the defendant
shall be fined under Title 18 and imprisoned for not less than 35 years nor more than life.

18 U.S.C. § 2 – Aiding & Abetting

       The same penalties as the substantive offense.




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                                           COUNT 2

18 U.S.C. §§ 2252A(a)(2) and (b)(1) – Distribution of Child Pornography

Term of Imprisonment:                Mandatory minimum of 5 years and a maximum of 20 years
Maximum Fine Amount:                 $250,000
Supervised Release:                  Mandatory minimum of 5 Years; maximum of lifetime
Mandatory Special Assessment:        $100
Additional Special Assessment:       $5,000

If the defendant has one prior conviction as set forth in 18 U.S.C. § 2251(e), the defendant shall
be fined under Title 18 and imprisoned for not less than 15 years nor more than 40 years.

18 U.S.C. § 2 – Aiding & Abetting

       The same penalties as the substantive offense.




                                           COUNT 3

18 U.S.C § 2422(b) – Coercion and Enticement of a Minor

Term of Imprisonment:                Mandatory minimum of 10 Years; maximum of life
Maximum Fine Amount:                 Up to $250,000
Supervised Release:                  Mandatory minimum of 5 Years; maximum of lifetime
Mandatory Special Assessment:        $100

In addition, 18 U.S.C. § 3559 provides for a mandatory term of imprisonment of Life following a
conviction of certain “Federal sex offenses,” which includes convictions under Section 2242, if
the conviction is repeat sex offenses against children within the meaning of that statute.

18 U.S.C. § 2 – Aiding & Abetting

       The same penalties as the substantive offense.




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                                             COUNT 4

18 U.S.C § 2261A(2) – Cyberstalking Resulting in Death

A maximum term of imprisonment as follow:

       If serious death to the victim results, for life or any term of years.

plus a fine of $250,000, or both, a term of supervised release of not more than five (5) years, plus
a special assessment of $100.

18 U.S.C. § 2 – Aiding & Abetting

       The same penalties as the substantive offense.



                                             COUNT 5

18 U.S.C § 875(b) – Interstate Threat with Intent to Extort

       A maximum term of imprisonment of 20 years, a fine of $250,000 and a term of supervised
       release of not more than 3 years in addition to any term of imprisonment, plus a special
       assessment of $100.

18 U.S.C. § 2 – Aiding & Abetting

       The same penalties as the substantive offense.


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